B1 (Official Form 1) (4/10)              Case 10-24182 Doc 1 Filed 06/23/10                                                  Page 1 of 43
                                     United States Bankruptcy Court                                                                              Voluntary Petition
                                          District of Maryland

 Name of Debtor (if individual, enter Last, First, Middle):                                      Name of Joint Debtor (Spouse) (Last, First, Middle):
   Kane, Mark, E                                                                                  Kane, Christina, M
 All Other Names used by the Debtor in the last 8 years                                          All Other Names used by the Joint Debtor in the last 8 years
 (include married, maiden, and trade names):                                                     (include married, maiden, and trade names):

Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN(if more            Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN(if more than
than one, state all):      4545                                                                  one, state all):           3494
 Street Address of Debtor (No. & Street, City, and State):                                       Street Address of Joint Debtor (No. & Street, City, and State):
   1100 Lapidum Road                                                                              1100 Lapidum Road
   Havre de Grace, MD                                                                             Havre de Grace, MD
                                                             ZIP CODE          21078                                                                          ZIP CODE           21078
 County of Residence or of the Principal Place of Business:                                      County of Residence or of the Principal Place of Business:
   Harford                                                                                        Harford
 Mailing Address of Debtor (if different from street address):                                   Mailing Address of Joint Debtor (if different from street address):

                                                             ZIP CODE                                                                                         ZIP CODE
Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                              ZIP CODE
                      Type of Debtor                                           Nature of Business                               Chapter of Bankruptcy Code Under Which
                    (Form of Organization)                       (Check one box)                                                   the Petition is Filed (Check one box)
                       (Check one box.)
                                                                     Health Care Business                                 Chapter 7                        Chapter 15 Petition for
        Individual (includes Joint Debtors)                          Single Asset Real Estate as defined in 11                                             Recognition of a Foreign
                                                                                                                          Chapter 9
        See Exhibit D on page 2 of this form.                        U.S.C. § 101(51B)                                                                     Main Proceeding
        Corporation (includes LLC and LLP)                           Railroad                                            Chapter 11
                                                                                                                                                           Chapter 15 Petition for
        Partnership                                                  Stockbroker                                         Chapter 12                        Recognition of a Foreign
        Other (If debtor is not one of the above entities,           Commodity Broker                                                                      Nonmain Proceeding
                                                                     Clearing Bank                                       Chapter 13
        check this box and state type of entity below.)
        _____________________                                        Other                                                                    Nature of Debts
                                                                                                                                                (Check one box)
                                                                              Tax-Exempt Entity                          Debts are primarily consumer                  Debts are primarily
                                                                            (Check box, if applicable)                   debts, defined in 11 U.S.C.                   business debts.
                                                                                                                         § 101(8) as “incurred by an
                                                                        Debtor is a tax-exempt organization              individual primarily for a
                                                                        under Title 26 of the United States              personal, family, or house-
                                                                        Code (the Internal Revenue Code.)                hold purpose.”
                                  Filing Fee (Check one box)                                                                          Chapter 11 Debtors
                                                                                                     Check one box:
      Full Filing Fee attached
                                                                                                           Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
      Filing Fee to be paid in installments (applicable to individuals only). Must attach                  Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
      signed application for the court's consideration certifying that the debtor is                 Check if:
      unable to pay fee except in installments. Rule 1006(b) See Official Form 3A.
                                                                                                           Debtor's aggregate noncontingent liquidated debts (excluding debts owed to
                                                                                                           insiders or affiliates) are less than $2,343,300 (amount subject to adjustment on
      Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                         4/01/13 and every three years thereafter).
      attach signed application for the court's consideration. See Official Form 3B.                 Check all applicable boxes
                                                                                                           A plan is being filed with this petition
                                                                                                           Acceptances of the plan were solicited prepetition from one or more classes
                                                                                                           of creditors, in accordance with 11 U.S.C. § 1126(b).
 Statistical/Administrative Information                                                                                                                                   THIS SPACE IS FOR
                                                                                                                                                                          COURT USE ONLY
      Debtor estimates that funds will be available for distribution to unsecured creditors.
      Debtor estimates that, after any exempt property is excluded and administrative
      expenses paid, there will be no funds available for distribution to unsecured creditors.
 Estimated Number of Creditors

 1-           50-          100-         200-        1,000-       5,001-       10,001-     25,001-        50,001-     Over
 49           99           199          999         5,000        10,000       25,000      50,000         100,000     100,000
 Estimated Assets

 $0 to   $50,001 to       $100,001 to     $500,001 to $1,000,001 $10,000,001 $50,000,001 $100,000,001                 $500,000,001     More than $1
 $50,000 $100,000         $500,000        $1          to $10     to $50      to $100     to $500                      to $1 billion    billion
                                          million     million    million     million     million
 Estimated Liabilities

 $0 to   $50,001 to       $100,001 to     $500,001 to $1,000,001 $10,000,001 $50,000,001 $100,000,001
                                                                                                                      $500,000,001     More than $1
 $50,000 $100,000         $500,000        $1          to $10     to $50      to $100     to $500
                                                                                                                      to $1 billion    billion
                                          million     million    million     million     million
B1 (Official Form 1) (4/10)                  Case 10-24182                     Doc 1           Filed 06/23/10                   Page 2 of 43                                 FORM B1, Page 2
Voluntary Petition                                                                               Name of Debtor(s):
  (This page must be completed and filed in every case)
                                                                                                 Mark E Kane, Christina M Kane
                                           All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)
 Location                                                                                        Case Number:                                              Date Filed:
 Where Filed:          NONE
 Location                                                                                        Case Number:                                              Date Filed:
 Where Filed:
                            Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)
 Name of Debtor:                                                                                 Case Number:                                              Date Filed:
 NONE
 District:                                                                                       Relationship:                                             Judge:


                                           Exhibit A                                                                                      Exhibit B
 (To be completed if debtor is required to file periodic reports (e.g., forms 10K and                                     (To be completed if debtor is an individual
 10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)                                         whose debts are primarily consumer debts)
 of the Securities Exchange Act of 1934 and is requesting relief under chapter 11.)              I, the attorney for the petitioner named in the foregoing petition, declare that I
                                                                                                 have informed the petitioner that [he or she] may proceed under chapter 7, 11,
                                                                                                 12, or 13 of title 11, United States Code, and have explained the relief
                                                                                                 available under each such chapter. I further certify that I have delivered to the
                                                                                                 debtor the notice required by 11 U.S.C. § 342(b).
        Exhibit A is attached and made a part of this petition.                                     X /s/ Wilbur W. Bolton, III, Esq.                          6/23/2010
                                                                                                        Signature of Attorney for Debtor(s)                      Date
                                                                                                        Wilbur W. Bolton, III, Esq.                             01490
                                                                                           Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
      Yes, and Exhibit C is attached and made a part of this petition.
       No

                                                                                           Exhibit D

 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)

             Exhibit D completed and signed by the debtor is attached and made a part of this petition.

 If this is a joint petition:

             Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                                        Information Regarding the Debtor - Venue
                                                                                   (Check any applicable box)
                          Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                          preceding the date of this petition or for a longer part of such 180 days than in any other District.

                          There is a bankruptcy case concerning debtor's affiliate. general partner, or partnership pending in this District.


                          Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District. or
                          has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in
                          this District, or the interests of the parties will be served in regard to the relief sought in this District.


                                             Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                     (Check all applicable boxes.)

                          Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following).



                                                                                               (Name of landlord that obtained judgment)


                                                                                               (Address of landlord)
                          Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
                          entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

                          Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period after the
                          filing of the petition.

                          Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
B1 (Official Form 1) (4/10)                 Case 10-24182                    Doc 1            Filed 06/23/10               Page 3 of 43                                FORM B1, Page 3
Voluntary Petition                                                                             Name of Debtor(s):
  (This page must be completed and filed in every case)                                        Mark E Kane, Christina M Kane

                                                                                      Signatures
                     Signature(s) of Debtor(s) (Individual/Joint)                                                       Signature of a Foreign Representative
I declare under penalty of perjury that the information provided in this petition is true      I declare under penalty of perjury that the information provided in this petition is true
and correct.                                                                                   and correct, that I am the foreign representative of a debtor in a foreign proceeding,
[If petitioner is an individual whose debts are primarily consumer debts and has               and that I am authorized to file this petition.
chosen to file under chapter 7] I am aware that I may proceed under chapter 7, 11, 12
or 13 of title 11, United States Code, understand the relief available under each such         (Check only one box.)
chapter, and choose to proceed under chapter 7.
                                                                                                     I request relief in accordance with chapter 15 of Title 11, United States Code.
[If no attorney represents me and no bankruptcy petition preparer signs the petition] I              Certified Copies of the documents required by § 1515 of title 11 are attached.
have obtained and read the notice required by 11 U.S.C. § 342(b).
                                                                                                     Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
 I request relief in accordance with the chapter of title 11, United States Code, specified          Chapter of title 11 specified in the petition. A certified copy of the
 in this petition.                                                                                   order granting recognition of the foreign main proceeding is attached.

   X s/ Mark E Kane                                                                            X Not Applicable
       Signature of Debtor        Mark E Kane                                                      (Signature of Foreign Representative)

   X s/ Christina M Kane
       Signature of Joint Debtor Christina M Kane                                                  (Printed Name of Foreign Representative)

       Telephone Number (If not represented by attorney)
       6/23/2010                                                                                   Date
       Date
                                   Signature of Attorney                                                            Signature of Non-Attorney Petition Preparer
  X /s/ Wilbur W. Bolton, III, Esq.                                                            I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined
      Signature of Attorney for Debtor(s)
                                                                                               in 11 U.S.C. § 110; (2) I prepared this document for compensation and have provided the
                                                                                               debtor with a copy of this document and the notices and information required under 11
      Wilbur W. Bolton, III, Esq. Bar No. 01490                                                U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if rules or guidelines have been
      Printed Name of Attorney for Debtor(s) / Bar No.                                         promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services chargeable
                                                                                               by bankruptcy petition preparers, I have given the debtor notice of the maximum amount
      Wilbur W. Bolton, III, Esquire                                                           before preparing any document for filing for a debtor or accepting any fee from the debtor,
                                                                                               as required in that section. Official Form 19 is attached.
      Firm Name
      Bolton & Kearney, P.A. 102 S. Parke Street
      Address                                                                                      Not Applicable
                                                                                                   Printed Name and title, if any, of Bankruptcy Petition Preparer
      Aberdeen, MD 21001

      (410)575-6556                                     (410)272-5790
                                                                                                  Social-Security number (If the bankruptcy petition preparer is not an individual, state
      Telephone Number                                                                            the Social-Security number of the officer, principal, responsible person or partner of
      6/23/2010                                                                                   the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)

      Date
      *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a               Address
      certification that the attorney has no knowledge after an inquiry that the
      information in the schedules is incorrect.

                  Signature of Debtor (Corporation/Partnership)
                                                                                               X Not Applicable
 I declare under penalty of perjury that the information provided in this petition is true
 and correct, and that I have been authorized to file this petition on behalf of the              Date
 debtor.
                                                                                                  Signature of bankruptcy petition preparer or officer, principal, responsible person, or
                                                                                                  partner whose Social-Security number is provided above.
 The debtor requests the relief in accordance with the chapter of title 11, United States
 Code, specified in this petition.                                                                Names and Social-Security numbers of all other individuals who prepared or assisted
                                                                                                  in preparing this document unless the bankruptcy petition preparer is not an
 X Not Applicable                                                                                 individual.
     Signature of Authorized Individual                                                           If more than one person prepared this document, attach to the appropriate official form
                                                                                                  for each person.

     Printed Name of Authorized Individual                                                        A bankruptcy petition preparer’s failure to comply with the provisions of title 11 and
                                                                                                  the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or
                                                                                                  both. 11 U.S.C. § 110; 18 U.S.C. § 156.
     Title of Authorized Individual


      Date
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B 1D (Official Form 1, Exhibit D) (12/09)

                                  UNITED STATES BANKRUPTCY COURT
                                                District of Maryland


         In re   Mark E Kane Christina M Kane                                       Case No.
                           Debtor(s)                                                                   (if known)


           EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                            CREDIT COUNSELING REQUIREMENT

         Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court can
dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your creditors
will be able to resume collection activities against you. If your case is dismissed and you file another
bankruptcy case later, you may be required to pay a second filing fee and you may have to take extra steps
to stop creditors' collection activities.

        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file
a separate Exhibit D. Check one of the five statements below and attach any documents as directed.

              1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities
for available credit counseling and assisted me in performing a related budget analysis, and I have a certificate
from the agency describing the services provided to me. Attach a copy of the certificate and a copy of any debt
repayment plan developed through the agency.

               2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities
for available credit counseling and assisted me in performing a related budget analysis, but I do not have a
certificate from the agency describing the services provided to me. You must file a copy of a certificate from the
agency describing the services provided to you and a copy of any debt repayment plan developed through the
agency no later than 14 days after your bankruptcy case is filed.


              3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the seven days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case now.
[Summarize exigent circumstances here.]




         If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from the
agency that provided the counseling, together with a copy of any debt management plan developed
through the agency. Failure to fulfill these requirements may result in dismissal of your case. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days.
Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy
case without first receiving a credit counseling briefing.
                     Case 10-24182            Doc 1       Filed 06/23/10         Page 5 of 43
B 1D (Official Form 1, Exh. D) (12/09) – Cont.

             4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
                       Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or
        mental deficiency so as to be incapable of realizing and making rational decisions with respect to financial
        responsibilities.);
                       Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
         unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
         through the Internet.);
                       Active military duty in a military combat zone.

             5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. ' 109(h) does not apply in this district.

         I certify under penalty of perjury that the information provided above is true and correct.

Signature of Debtor: s/ Mark E Kane
                     Mark E Kane

Date: 6/23/2010
                      Case 10-24182            Doc 1       Filed 06/23/10         Page 6 of 43
B 1D (Official Form 1, Exhibit D) (12/09)

                                  UNITED STATES BANKRUPTCY COURT
                                                District of Maryland


         In re   Mark E Kane Christina M Kane                                       Case No.
                          Debtor(s)                                                                    (if known)


           EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                            CREDIT COUNSELING REQUIREMENT

         Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court can
dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your creditors
will be able to resume collection activities against you. If your case is dismissed and you file another
bankruptcy case later, you may be required to pay a second filing fee and you may have to take extra steps
to stop creditors' collection activities.

        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file
a separate Exhibit D. Check one of the five statements below and attach any documents as directed.

              1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities
for available credit counseling and assisted me in performing a related budget analysis, and I have a certificate
from the agency describing the services provided to me. Attach a copy of the certificate and a copy of any debt
repayment plan developed through the agency.

               2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities
for available credit counseling and assisted me in performing a related budget analysis, but I do not have a
certificate from the agency describing the services provided to me. You must file a copy of a certificate from the
agency describing the services provided to you and a copy of any debt repayment plan developed through the
agency no later than 14 days after your bankruptcy case is filed.


              3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the seven days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case now.
[Summarize exigent circumstances here.]




         If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from the
agency that provided the counseling, together with a copy of any debt management plan developed
through the agency. Failure to fulfill these requirements may result in dismissal of your case. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days.
Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy
case without first receiving a credit counseling briefing.
                     Case 10-24182            Doc 1       Filed 06/23/10         Page 7 of 43
B 1D (Official Form 1, Exh. D) (12/09) – Cont.

             4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
                       Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or
        mental deficiency so as to be incapable of realizing and making rational decisions with respect to financial
        responsibilities.);
                       Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
         unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
         through the Internet.);
                       Active military duty in a military combat zone.

             5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. ' 109(h) does not apply in this district.

         I certify under penalty of perjury that the information provided above is true and correct.

Signature of Debtor: s/ Christina M Kane
                     Christina M Kane

Date: 6/23/2010
                                    Case 10-24182         Doc 1    Filed 06/23/10         Page 8 of 43

B7 (Official Form 7) (4/10)


                                                     UNITED STATES BANKRUPTCY COURT
                                                             District of Maryland

In re:   Mark E Kane          Christina M Kane                                                Case No.
                                                                          ,
                                                        Debtors                                                  (If known)




                                            STATEMENT OF FINANCIAL AFFAIRS

          1. Income from employment or operation of business
None      State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the
          debtor's business, including part-time activities either as an employee or in independent trade or business, from the
          beginning of this calendar year to the date this case was commenced. State also the gross amounts received during the two
          years immediately preceding this calendar year. (A debtor that maintains, or has maintained, financial records on the basis
          of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates of the debtor's
          fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter 12 or
          chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a
          joint petition is not filed.)
          AMOUNT                                 SOURCE                                   FISCAL YEAR PERIOD

          122,768.00                             employment                               2008

          132,777.00                             employment                               2009

          2. Income other than from employment or operation of business
None      State the amount of income received by the debtor other than from employment, trade, profession, operation of the debtor's
          business during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is
          filed, state income for each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for
          each spouse whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

          AMOUNT                                 SOURCE                                                           FISCAL YEAR PERIOD
                             Case 10-24182            Doc 1      Filed 06/23/10         Page 9 of 43

                                                                                                                         2

        3. Payments to creditors

        Complete a. or b., as appropriate, and c.
None    a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or
        services, and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless
        the aggregate value of all property that constitutes or is affected by such transfer is less than $600. Indicate with an asterisk
        (*) any payments that were made to a creditor on account of a domestic support obligation or as part of an alternative
        repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency. (Married debtors filing
        under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint petition is filed,
        unless the spouses are separated and a joint petition is not filed.)

        NAME AND ADDRESS OF                               DATES OF                                AMOUNT                AMOUNT
        CREDITOR                                          PAYMENTS                                PAID                  STILL OWING

        Chrysler Financial                                 1/19/10, 2/25/10, 3/9/10               1,645.20              24,947.00
        P O Box 9001921
        Louisville, KY 40290-1921

        EMC Mortgage                                       1/15/10, 2/19/10, 3/29/10              1,274.58              47,425.82
        2780 Lake Vista Dr                                 (second mortgage)
        Lewisville, TX

        EMC Mortgage                                       1/11/10, 2/22/10, 3/29/10 (first       7,390.41              374,865.06
        2780 Lake Vista Dr                                 mortgage)
        Lewisville, TX

        Harley Davidson Credit Corp.                       12/10/09, 1/18/10, 2/13/10             999.46                15,691.35
        Dept. 15129
        Palatine, IL 60055-5129

        Wilmington Trust Co.                               2/16/10, 3/02/10, 3/16/10              657.48                7,262.69
        1100 N Market St, Rodney Sq N
        Wilmington, DE 19809


None   b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90
       days immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is
       affected by such transfer is less than $5,850*. If the debtor is an individual, indicate with an asterisk (*) any payments that
       were made to a creditor on account of a domestic support obligation or as part of an alternative repayment schedule under
       a plan by an approved nonprofit budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter
       13 must include payments and other transfers by either or both spouses whether or not a joint petition is filed, unless the
       spouses are separated and a joint petition is not filed.)

        NAME AND ADDRESS OF CREDITOR                     DATES OF                               AMOUNT                  AMOUNT
                                                         PAYMENTS/                              PAID OR                 STILL
                                                         TRANSFERS                              VALUE OF                OWING
                                                                                                TRANSFERS




    *Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the
date of adjustment.
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                                                                                                                         3

None   c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the
       benefit of creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments
       by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is
       not filed.)
       NAME AND ADDRESS OF CREDITOR                     DATE OF                                 AMOUNT                 AMOUNT
       AND RELATIONSHIP TO DEBTOR                       PAYMENT                                 PAID                   STILL OWING




       4. Suits and administrative proceedings, executions, garnishments and attachments
None   a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding
       the filing of this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
       either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is
       not filed.)
       CAPTION OF SUIT                                                         COURT OR AGENCY                       STATUS OR
       AND CASE NUMBER                     NATURE OF PROCEEDING                AND LOCATIO                           DISPOSITION




None b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year
     immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include
     information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are
     separated and a joint petition is not filed.)
       NAME AND ADDRESS                                                                   DESCRIPTION
       OF PERSON FOR WHOSE                                    DATE OF                     AND VALUE OF
       BENEFIT PROPERTY WAS SEIZED                            SEIZURE                     PROPERTY

       5. Repossessions, foreclosures and returns
None   List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of
       foreclosure or returned to the seller, within one year immediately preceding the commencement of this case. (Married
       debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both spouses
       whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                                              DATE OF REPOSSESSION, DESCRIPTION
       NAME AND ADDRESS                                       FORECLOSURE SALE,              AND VALUE OF
       OF CREDITOR OR SELLER                                  TRANSFER OR RETURN             PROPERTY



       6. Assignments and receiverships
None   a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the
       commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either
       or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
       filed.)
                                                                                          TERMS OF
       NAME AND ADDRESS                                     DATE OF                       ASSIGNMENT
       OF ASSIGNEE                                          ASSIGNMENT                    OR SETTLEMENT
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                                                                                                                        4

None   b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year
       immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
       include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
       spouses are separated and a joint petition is not filed.)


                                                NAME AND ADDRESS                                           DESCRIPTION
       NAME AND ADDRESS                         OF COURT                          DATE OF                  AND VALUE OF
       OF CUSTODIAN                             CASE TITLE & NUMBER               ORDER                    PROPERTY

       7. Gifts
None   List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except
       ordinary and usual gifts to family members aggregating less than $200 in value per individual family member and charitable
       contributions aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include
       gifts or contributions by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)


       NAME AND ADDRESS                         RELATIONSHIP                                               DESCRIPTION
       OF PERSON                                TO DEBTOR,                   DATE                          AND VALUE OF
       OR ORGANIZATION                          IF ANY                       OF GIFT                       GIFT

       8. Losses
None   List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement
       of this case or since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
       include losses by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)

       DESCRIPTION                                   DESCRIPTION OF CIRCUMSTANCES AND, IF
       AND VALUE OF                                  LOSS WAS COVERED IN WHOLE OR IN PART                         DATE OF
       PROPERTY                                      BY INSURANCE, GIVE PARTICULARS                               LOSS

       9. Payments related to debt counseling or bankruptcy
None   List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for
       consultation concerning debt consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy within
       one year immediately preceding the commencement of this case.


       NAME AND ADDRESS                                     DATE OF PAYMENT,               AMOUNT OF MONEY OR
       OF PAYEE                                             NAME OF PAYOR IF               DESCRIPTION AND VALUE
                                                            OTHER THAN DEBTOR              OF PROPERTY
       Bolton & Kearney, P.A.                                                              $1,500.00 + $299.00 filing fee
       102 S. Parke Street
       Aberdeen, MD 21001

       Consumer Credit Counseling Service                                                  $75.00
       757 Frederick Road                                                                  credit counseling certificates
       Baltimore, MD 21228
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                                                                                                                        5

       10. Other transfers
None   a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the
       debtor, transferred either absolutely or as security within two years immediately preceding the commencement of this case.
       (Married debtors filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                                  DESCRIBE PROPERTY
       NAME AND ADDRESS OF TRANSFEREE,                                                            TRANSFERRED
       RELATIONSHIP TO DEBTOR                                DATE                                 AND VALUE RECEIVED




None   b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a
       self-settled trust or similar device of which the debtor is a beneficiary.


       NAME OF TRUST OR OTHER                              DATE(S) OF                      AMOUNT OF MONEY OR DESCRIPTION
       DEVICE                                              TRANSFER(S)                     AND VALUE OF PROPERTY OR DEBTOR
                                                                                           INTEREST IN PROPERTY



       11. Closed financial accounts
None   List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed,
       sold, or otherwise transferred within one year immediately preceding the commencement of this case. Include checking,
       savings, or other financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks,
       credit unions, pension funds, cooperatives, associations, brokerage houses and other financial institutions. (Married debtors
       filing under chapter 12 or chapter 13 must include information concerning accounts or instruments held by or for either or
       both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                         TYPE OF ACCOUNT, LAST FOUR                  AMOUNT AND
       NAME AND ADDRESS                                  DIGITS OF ACCOUNT NUMBER,                   DATE OF SALE
       OF INSTITUTION                                    AND AMOUNT OF FINAL BALANCE                 OR CLOSING

       12. Safe deposit boxes
None   List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within
       one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13
       must include boxes or depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are
       separated and a joint petition is not filed.)


       NAME AND ADDRESS                         NAMES AND ADDRESSES                DESCRIPTION                   DATE OF TRANSFER
       OF BANK OR                               OF THOSE WITH ACCESS               OF                            OR SURRENDER,
       OTHER DEPOSITORY                         TO BOX OR DEPOSITOR                CONTENTS                      IF ANY

       13. Setoffs
None   List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding
       the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information
       concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
       petition is not filed.)

                                                                       DATE OF                    AMOUNT OF
       NAME AND ADDRESS OF CREDITOR                                    SETOFF                     SETOFF
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                                                                                                                         6

       14. Property held for another person
None   List all property owned by another person that the debtor holds or controls.
       NAME AND ADDRESS                                       DESCRIPTION AND VALUE
       OF OWNER                                               OF PROPERTY                          LOCATION OF PROPERTY


       15. Prior address of debtor
None   If debtor has moved within three years immediately preceding the commencement of this case, list all premises which the
       debtor occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also
       any separate address of either spouse.

       ADDRESS                                                          NAME USED                             DATES OF OCCUPANCY

       16. Spouses and Former Spouses
None   If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona,
       California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years
       immediately preceding the commencement of the case, identify the name of the debtor 's spouse and of any former spouse
       who resides or resided with the debtor in the community property state.
       NAME


       17. Environmental Information.
       For the purpose of this question, the following definitions apply:

       "Environmental Law" means any federal, state or local statute or regulation regulating pollution, contamination, releases of
       hazardous or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium,
       including, but not limited to, statutes or regulations regulating the cleanup of these substances, wastes, or material.

       "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or
       formerly owned or operated by the debtor, including, but not limited to, disposal sites.

       "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance,
       hazardous material, pollutant, or contaminant or similar term under an Environmental Law.

None
       a.      List the name and address of every site for which the debtor has received notice in writing by a governmental unit
       that it may be liable or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the
       date of the notice, and, if known, the Environmental Law.



       SITE NAME AND                              NAME AND ADDRESS                    DATE OF                  ENVIRONMENTAL
       ADDRESS                                    OF GOVERNMENTAL UNIT                NOTICE                   LAW


None   b.   List the name and address of every site for which the debtor provided notice to a governmental unit of a release of
       Hazardous Material. Indicate the governmental unit to which the notice was sent and the date of the notice.



       SITE NAME AND                        NAME AND ADDRESS                     DATE OF                ENVIRONMENTAL
       ADDRESS                              OF GOVERNMENTAL UNIT                 NOTICE                 LAW
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                                                                                                                         7

None   c.     List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with
       respect to which the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party
       to the proceeding, and the docket number.



       NAME AND ADDRESS                           DOCKET NUMBER                                    STATUS OR
       OF GOVERNMENTAL UNIT                                                                        DISPOSITION


       18. Nature, location and name of business
None   a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses,
       and beginning and ending dates of all businesses in which the debtor was an officer, director, partner, or managing
       executive of a corporation, partner in a partnership, sole proprietor, or was self-employed in a trade, profession, or
       other activity either full- or part-time within the six years immediately preceding the commencement of this case,
       or in which the debtor owned 5 percent or more of the voting or equity securities within the six years immediately
       preceding the commencement of this case.

       If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses,
       and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of
       the voting or equity securities, within the six years immediately preceding the commencement of this case.

       If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the business, and
       beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or
       equity securities within the six years immediately preceding the commencement of this case.
                                 LAST FOUR DIGITS
                                 OF SOCIAL SECURITY ADDRESS
       NAME                                                                             NATURE OF             BEGINNING AND ENDING
                                 OR OTHER INDIVIDUAL
                                                                                        BUSINESS              DATES
                                 TAXPAYER-I.D. NO.
                                 (ITIN)/ COMPLETE EIN

None   b.      Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11
       U.S.C. § 101.


       NAME                                                                      ADDRESS



                                                                * * * * * *
   [if completed by an individual or individual and spouse]
   I declare under penalty of perjury that I have read the answers contained in the foregoing statement
   of financial affairs and any attachments thereto and that they are true and correct.

   Date 6/23/2010                                          Signature     s/ Mark E Kane
                                                           of Debtor     Mark E Kane

   Date 6/23/2010                                          Signature       s/ Christina M Kane
                                                           of Joint Debtor Christina M Kane
                                                           (if any)
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B6 Summary (Official Form 6 - Summary) (12/07)

                                                           United States Bankruptcy Court
                                                                     District of Maryland


In re Mark E Kane           Christina M Kane                                           ,                    Case No.
                                                               Debtors
                                                                                                            Chapter       7

                                                    SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I,
and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all claims from
Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors also must complete the “Statistical Summary of Certain Liabilities
and Related Data” if they file a case under chapter 7, 11, or 13.




      NAME OF SCHEDULE                     ATTACHED        NO. OF SHEETS                   ASSETS                      LIABILITIES                     OTHER
                                            (YES/NO)

 A - Real Property                            YES                        1       $           296,670.00

 B - Personal Property                        YES                        3       $            45,565.40

 C - Property Claimed
     as Exempt                                YES                        1

 D - Creditors Holding                        YES                        2                                    $               470,191.92
     Secured Claims
 E - Creditors Holding Unsecured
     Priority Claims                          YES                        3                                    $                29,867.00
     (Total of Claims on Schedule E)

 F - Creditors Holding Unsecured              YES                        5                                    $                53,119.95
     Nonpriority Claims

 G - Executory Contracts and                  YES                        1
     Unexpired Leases

 H - Codebtors                                YES                        1

 I - Current Income of                                                                                                                         $            5,751.35
     Individual Debtor(s)                     YES                        2

 J - Current Expenditures of                  YES                        1
     Individual Debtor(s)                                                                                                                      $            8,516.42

                                                                      20         $          342,235.40        $           553,178.87
                                    TOTAL
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B6A (Official Form 6A) (12/07)

In re:   Mark E Kane     Christina M Kane                                                                           Case No.
                                                                   ,
                                                                                                                                                (If known)
                                             Debtors



                                     SCHEDULE A - REAL PROPERTY




                                                                                HUSBAND, WIFE, JOINT
                                                                                                                    CURRENT VALUE
                                                                                                                     OF DEBTOR'S




                                                                                   OR COMMUNITY
                                                                                                                      INTEREST IN
               DESCRIPTION AND                                                                                    PROPERTY, WITHOUT                    AMOUNT OF
                                                  NATURE OF DEBTOR'S
                 LOCATION OF                                                                                        DEDUCTING ANY                       SECURED
                                                 INTEREST IN PROPERTY                                              SECURED CLAIM
                  PROPERTY                                                                                                                               CLAIM
                                                                                                                     OR EXEMPTION




 1100 Lapidum Road, Havre de Grace,         Fee Owner                                   J                                    $ 296,670.00                $ 422,290.88
 MD


                                                                        Total                              $ 296,670.00
                                                                                                       (Report also on Summary of Schedules.)
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B6B (Official Form 6B) (12/07)

In re      Mark E Kane           Christina M Kane                                        ,                Case No.
                                                                                                                                            (If known)
                                                                   Debtors



                                          SCHEDULE B - PERSONAL PROPERTY




                                                                                                                     HUSBAND, WIFE, JOINT
                                                                                                                                             CURRENT VALUE OF
                                                                                                                                             DEBTOR'S INTEREST




                                                                                                                       OR COMMUNITY
                                                                                                                                             IN PROPERTY, WITH-
                                                                             DESCRIPTION AND LOCATION                                        OUT DEDUCTING ANY
                                                     NONE
               TYPE OF PROPERTY                                                    OF PROPERTY                                                  SECURED CLAIM
                                                                                                                                                OR EXEMPTION




  1. Cash on hand                                           cash                                                           J                              100.00
  2. Checking, savings or other financial                   checking acct xxxx7704 at Cecil Bank for Christina          W                                1,361.67
     accounts, certificates of deposit, or
     shares in banks, savings and loan, thrift,             Kane's Tupperware consultant business
     building and loan, and homestead
     associations, or credit unions, brokerage
     houses, or cooperatives.
        Checking, savings or other financial                money market acct xxxx1733 at BB&T Bank                     W                                 523.04
        accounts, certificates of deposit, or
        shares in banks, savings and loan, thrift,
        building and loan, and homestead
        associations, or credit unions, brokerage
        houses, or cooperatives.
        Checking, savings or other financial                savings acct at BB&T Bank                                   W                                   5.44
        accounts, certificates of deposit, or
        shares in banks, savings and loan, thrift,
        building and loan, and homestead
        associations, or credit unions, brokerage
        houses, or cooperatives.
        Checking, savings or other financial                savings acct xxxx6086 at Thiokol Elkton Federal                J                              484.16
        accounts, certificates of deposit, or
        shares in banks, savings and loan, thrift,          Credit Union
        building and loan, and homestead
        associations, or credit unions, brokerage
        houses, or cooperatives.
  3. Security deposits with public utilities,        X
     telephone companies, landlords, and
     others.
  4. Household goods and furnishings,                       Ordinary household goods & furnishings                         J                             2,000.00
     including audio, video, and computer
     equipment.
  5. Books, pictures and other art objects,                 misc. pictures, wall ornaments, books                          J                              100.00
     antiques, stamp, coin, record, tape,
     compact disc, and other collections or
     collectibles.
        Books, pictures and other art objects,              miscellaneous books, CD's 7 DVD's, pictures &                  J                              500.00
        antiques, stamp, coin, record, tape,
        compact disc, and other collections or              wall ornaments
        collectibles.
  6. Wearing apparel.                                       Ordinary wearing apparel                                       J                             1,000.00
  7. Furs and jewelry.                               X
  8. Firearms and sports, photographic, and          X
     other hobby equipment.
  9. Interests in insurance policies. Name                  Term life insurance                                           H                                 0.00
     insurance company of each policy and
     itemize surrender or refund value of
     each.
 10. Annuities. Itemize and name each                X
     issuer.
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B6B (Official Form 6B) (12/07) -- Cont.

In re      Mark E Kane           Christina M Kane                                       ,               Case No.
                                                                                                                                          (If known)
                                                                Debtors



                                          SCHEDULE B - PERSONAL PROPERTY
                                                                          (Continuation Sheet)




                                                                                                                   HUSBAND, WIFE, JOINT
                                                                                                                                           CURRENT VALUE OF
                                                                                                                                           DEBTOR'S INTEREST




                                                                                                                     OR COMMUNITY
                                                                                                                                           IN PROPERTY, WITH-
                                                                           DESCRIPTION AND LOCATION                                        OUT DEDUCTING ANY
                                                    NONE
               TYPE OF PROPERTY                                                  OF PROPERTY                                                  SECURED CLAIM
                                                                                                                                              OR EXEMPTION




 11. Interests in an education IRA as defined       X
     in 26 U.S.C. § 530(b)(1) or under a
     qualified State tuition plan as defined in
     26 U.S.C. § 529(b)(1). Give particulars.
     (File separately the record(s) of any such
     interest(s). 11 U.S.C. § 521(c).)
 12. Interests in IRA, ERISA, Keogh, or other              Cecil County employees Deferred Compensation               W                                2,168.42
     pension or profit sharing plans. Give
     particulars.                                          Plan managed by Metropolitan Life Ins. Co., P O
                                                           Box 173764, Denver, CO 80217
 13. Stock and interests in incorporated and        X
     unincorporated businesses. Itemize.
 14. Interests in partnerships or joint             X
     ventures. Itemize.
 15. Government and corporate bonds and             X
     other negotiable and nonnegotiable
     instruments.
 16. Accounts receivable.                           X
 17. Alimony, maintenance, support, and             X
     property settlements to which the debtor
     is or may be entitled. Give particulars.
 18. Other liquidated debts owed to debtor          X
     including tax refunds. Give particulars.
 19. Equitable or future interests, life estates,   X
     and rights or powers exercisable for the
     benefit of the debtor other than those
     listed in Schedule A - Real Property.
 20. Contingent and noncontingent interests         X
     in estate of a decedent, death benefit
     plan, life insurance policy, or trust.
 21. Other contingent and unliquidated              X
     claims of every nature, including tax
     refunds, counterclaims of the debtor,
     and rights to setoff claims. Give
     estimated value of each.
 22. Patents, copyrights, and other                 X
     intellectual property. Give particulars.
 23. Licenses, franchises, and other general        X
     intangibles. Give particulars.
 24. Customer lists or other compilations           X
     containing personally identifiable
     information (as defined in 11 U.S.C. §
     101(41A)) provided to the debtor by
     individuals in connection with obtaining a
     product or service from the debtor primarily
     for personal, family, or household
     purposes.
 25. Automobiles, trucks, trailers, and other              2007 Dodge Caliber, Kelley Blue Book value                    J                             4,800.00
     vehicles and accessories.
        Automobiles, trucks, trailers, and other           2008 Harley-Davidson FXDF Dyna Fat Bob, Kelley               H                              7,700.00
        vehicles and accessories.
                                                           Blue Book value
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B6B (Official Form 6B) (12/07) -- Cont.

In re      Mark E Kane          Christina M Kane                                       ,              Case No.
                                                                                                                                            (If known)
                                                              Debtors



                                         SCHEDULE B - PERSONAL PROPERTY
                                                                        (Continuation Sheet)




                                                                                                                     HUSBAND, WIFE, JOINT
                                                                                                                                             CURRENT VALUE OF
                                                                                                                                             DEBTOR'S INTEREST




                                                                                                                       OR COMMUNITY
                                                                                                                                             IN PROPERTY, WITH-
                                                                         DESCRIPTION AND LOCATION                                            OUT DEDUCTING ANY
                                                  NONE
              TYPE OF PROPERTY                                                 OF PROPERTY                                                      SECURED CLAIM
                                                                                                                                                OR EXEMPTION




 25. Automobiles, trucks, trailers, and other            2008 Jeep Commander, Kelley Blue Book value                      H                               16,850.00
     vehicles and accessories.
 26. Boats, motors, and accessories.              X
 27. Aircraft and accessories.                    X
 28. Office equipment, furnishings, and           X
     supplies.
 29. Machinery, fixtures, equipment and           X
     supplies used in business.
 30. Inventory.                                   X
 31. Animals.                                     X
 32. Crops - growing or harvested. Give           X
     particulars.
 33. Farming equipment and implements.            X
 34. Farm supplies, chemicals, and feed.          X
 35. Other personal property of any kind not             2 weeks net wages                                                H                                1,811.80
     already listed. Itemize.
        Other personal property of any kind not          2 weeks net wages                                              W                                  1,063.87
        already listed. Itemize.
        Other personal property of any kind not          Anticipated prorated 2010 income tax refund                       J                               4,697.00
        already listed. Itemize.
        Other personal property of any kind not          Trailer to haul trash, Debtor value                              H                                  400.00
        already listed. Itemize.

                                                         2    continuation sheets attached                   Total                                       $ 45,565.40

                                                                                                                 (Include amounts from any continuation sheets
                                                                                                                 attached. Report total also on Summary of
                                                                                                                 Schedules.)
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B6C (Official Form 6C) (4/10)


In re   Mark E Kane       Christina M Kane                                                              Case No.
                                                                                           ,
                                                                                                                                 (If known)
                                                              Debtors



                       SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

Debtor claims the exemptions to which debtor is entitled under:                 Check if debtor claims a homestead exemption that exceeds
(Check one box)                                                                 $146,450.*
   11 U.S.C. § 522(b)(2)
   11 U.S.C. § 522(b)(3)


                                                                                                VALUE OF                       CURRENT
                                                           SPECIFY LAW
                                                                                                CLAIMED                   VALUE OF PROPERTY
        DESCRIPTION OF PROPERTY                           PROVIDING EACH
                                                                                               EXEMPTION                  WITHOUT DEDUCTING
                                                            EXEMPTION
                                                                                                                              EXEMPTION


2 weeks net wages                           Md. Code Ann., Cts. & Jud. Proc.                         1,063.87                                 1,063.87
                                            §11-504(b)(5)
2 weeks net wages                           Md. Code Ann., Cts. & Jud. Proc.                         1,811.80                                 1,811.80
                                            §11-504(b)(5)
Anticipated prorated 2010                   Md. Code Ann., Cts. & Jud. Proc.                         4,697.00                                 4,697.00
income tax refund                           §11-504(b)(5)
cash                                        Md. Code Ann., Cts. & Jud. Proc.                           100.00                                   100.00
                                            §11-504(b)(5)
Cecil County employees                      Md. Code Ann., Cts. & Jud. Proc.                         2,168.42                                 2,168.42
Deferred Compensation Plan                  §11-504(h)
managed by Metropolitan Life
Ins. Co., P O Box 173764,
Denver, CO 80217
checking acct xxxx7704 at                   Md. Code Ann., Cts. & Jud. Proc.                         1,361.67                                 1,361.67
Cecil Bank for Christina Kane's             §11-504(b)(5)
Tupperware consultant
business
misc. pictures, wall                        Md. Code Ann., Cts. & Jud. Proc.                           100.00                                   100.00
ornaments, books                            §11-504(f)
miscellaneous books, CD's 7                 Md. Code Ann., Cts. & Jud. Proc.                           500.00                                   500.00
DVD's, pictures & wall                      §11-504(f)
ornaments
money market acct xxxx1733                  Md. Code Ann., Cts. & Jud. Proc.                           523.04                                   523.04
at BB&T Bank                                §11-504(b)(5)
Ordinary household goods &                  Md. Code Ann., Cts. & Jud. Proc.                         2,000.00                                 2,000.00
furnishings                                 §11-504(b)(4)
Ordinary wearing apparel                    Md. Code Ann., Cts. & Jud. Proc.                         1,000.00                                 1,000.00
                                            §11-504(f)
savings acct at BB&T Bank                   Md. Code Ann., Cts. & Jud. Proc.                               5.44                                   5.44
                                            §11-504(b)(5)
Term life insurance                         Md. Code Ann., Cts. & Jud. Proc.                               0.00                                   0.00
                                            §11-504(b)(5)
Trailer to haul trash, Debtor               Md. Code Ann., Cts. & Jud. Proc.                           400.00                                   400.00
value                                       §11-504(f)

* Amount subject to adjustment on 4/1/13 and every three years thereafter with respect to cases commenced on or after the date of adjustment.
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B6D (Official Form 6D) (12/07)


 In re   Mark E Kane        Christina M Kane                                                                  ,
                                                                                                                          Case No.
                                                         Debtors                                                                                                          (If known)


                  SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

                    Check this box if debtor has no creditors holding secured claims to report on this Schedule D.


               CREDITOR'S NAME AND                                                                      DATE CLAIM WAS                                                    AMOUNT OF




                                                                     HUSBAND, WIFE, JOINT
                 MAILING ADDRESS                                                                       INCURRED, NATURE                                                  CLAIM WITHOUT                UNSECURED




                                                                                                                                             UNLIQUIDATED
                                                                       OR COMMUNITY




                                                                                                                                CONTINGENT
                                                                                                                                                                                                      PORTION, IF



                                                          CODEBTOR




                                                                                                                                                            DISPUTED
             INCLUDING ZIP CODE AND                                                                       OF LIEN, AND                                                     DEDUCTING
               AN ACCOUNT NUMBER                                                                        DESCRIPTION AND                                                     VALUE OF                     ANY
              (See Instructions, Above.)                                                              VALUE OF PROPERTY                                                   COLLATERAL
                                                                                                        SUBJECT TO LIEN


 ACCOUNT NO. 1025561554                                                                     03/26/2010
                                                                        H                                                                                                         24,947.00                 8,097.00
                                                                                            Security Agreement
 Chrysler Financial
                                                                                            2008 Jeep Commander, Kelley
 P O Box 9001921
                                                                                            Blue Book value
 Louisville, KY 40290-1921
                                                                                            __________________________
                                                                                            VALUE $16,850.00

 ACCOUNT NO. 0015999859                                                                     03/01/2010
                                                                         J                                                                   X                                    47,425.82                       0.00
                                                                                            Second Lien on Residence
 EMC Mortgage
                                                                                            1100 Lapidum Road, Havre de
 2780 Lake Vista Dr
                                                                                            Grace, MD
 Lewisville, TX
                                                                                            __________________________
                                                                                            VALUE $296,670.00

 ACCOUNT NO. 0015849052                                                                     03/01/2010
                                                                      W                                                                      X                                   374,865.06               78,195.06
                                                                                            Mortgage
 EMC Mortgage
                                                                                            1100 Lapidum Road, Havre de
 2780 Lake Vista Dr
                                                                                            Grace, MD
 Lewisville, TX
                                                                                            __________________________
                                                                                            VALUE $296,670.00

 EMC Mortgage
 P O Box 660753
 Dallas, TX 75266-0753
 ACCOUNT NO. 20090214225938                                                                 04/02/2010
                                                                        H                                                                    X                                    15,691.35                 7,991.35
                                                                                            Security Agreement
 Harley Davidson Credit Corp.
                                                                                            2008 Harley-Davidson FXDF
 Dept. 15129
                                                                                            Dyna Fat Bob, Kelley Blue Book
 Palatine, IL 60055-5129
                                                                                            value
                                                                                            __________________________
                                                                                            VALUE $7,700.00



 1        continuation sheets
          attached
                                                                                            Subtotal
                                                                                            (Total of this page)
                                                                                                                                                                         $       462,929.23 $             94,283.41



                                                                                            Total                                                                        $                        $
                                                                                            (Use only on last page)


                                                                                                                                                                       (Report also on Summary of (If applicable, report
                                                                                                                                                                       Schedules)                 also on Statistical
                                                                                                                                                                                                  Summary of Certain
                                                                                                                                                                                                  Liabilities and
                                                                                                                                                                                                  Related Data.)
                                    Case 10-24182                          Doc 1                Filed 06/23/10    Page 22 of 43
B6D (Official Form 6D) (12/07)- Cont.


 In re   Mark E Kane         Christina M Kane                                                        ,
                                                                                                                 Case No.
                                                Debtors                                                                                                          (If known)


                   SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                        (Continuation Sheet)




                                                            HUSBAND, WIFE, JOINT
                CREDITOR'S NAME AND                                                            DATE CLAIM WAS                                                    AMOUNT OF
                  MAILING ADDRESS                                                             INCURRED, NATURE                                                  CLAIM WITHOUT               UNSECURED




                                                                                                                                    UNLIQUIDATED
                                                              OR COMMUNITY




                                                                                                                       CONTINGENT
                                                                                                                                                                                            PORTION, IF




                                                 CODEBTOR




                                                                                                                                                   DISPUTED
              INCLUDING ZIP CODE AND                                                             OF LIEN, AND                                                     DEDUCTING
                AN ACCOUNT NUMBER                                                              DESCRIPTION AND                                                     VALUE OF                    ANY
               (See Instructions, Above.)                                                    VALUE OF PROPERTY                                                   COLLATERAL
                                                                                               SUBJECT TO LIEN


 ACCOUNT NO. 8000096620448                                                         04/01/2010
                                                                J                                                                   X                                      7,262.69                2,462.69
                                                                                   Security Agreement
 Wilmington Trust Co.
                                                                                   2007 Dodge Caliber, Kelley Blue
 1100 N Market St, Rodney Sq N
                                                                                   Book value
 Wilmington, DE 19809
                                                                                   __________________________
                                                                                   VALUE $4,800.00




 Sheet no. 1 of 1 continuation                                                     Subtotal
 sheets attached to Schedule of                                                    (Total of this page)
                                                                                                                                                                $          7,262.69 $              2,462.69
 Creditors Holding Secured
 Claims

                                                                                   Total                                                                        $       470,191.92 $             96,746.10
                                                                                   (Use only on last page)


                                                                                                                                                              (Report also on Summary of (If applicable, report
                                                                                                                                                              Schedules)                 also on Statistical
                                                                                                                                                                                         Summary of Certain
                                                                                                                                                                                         Liabilities and
                                                                                                                                                                                         Related Data.)
                                         Case 10-24182               Doc 1        Filed 06/23/10             Page 23 of 43
B6E (Official Form 6E) (4/10)

In re       Mark E Kane         Christina M Kane                                         ,                               Case No.
                                                                Debtors                                                                              (If known)


                 SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

        Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.


TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets.)
        Domestic Support Obligations
     Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in
11 U.S.C. § 507(a)(1).


        Extensions of credit in an involuntary case
     Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

        Wages, salaries, and commissions
     Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
independent sales representatives up to $11,725* per person earned within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

        Contributions to employee benefit plans
    Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).


        Certain farmers and fishermen

        Claims of certain farmers and fishermen, up to $5,775* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

        Deposits by individuals

      Claims of individuals up to $2,600* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use,
that were not delivered or provided. 11 U.S.C. § 507(a)(7).

        Taxes and Certain Other Debts Owed to Governmental Units
        Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

        Commitments to Maintain the Capital of an Insured Depository Institution
     Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of
Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C.
§ 507 (a)(9).

        Claims for Death or Personal Injury While Debtor Was Intoxicated

     Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
another substance. 11 U.S.C. § 507(a)(10).

        * Amounts are subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.


                                                                    1 continuation sheets attached
                                       Case 10-24182                                        Doc 1            Filed 06/23/10                                       Page 24 of 43
B6E (Official Form 6E) (4/10) – Cont.


In re     Mark E Kane         Christina M Kane                                                                                                                                 Case No.
                                                                                                                     ,                                                                                    (If known)
                                                                      Debtors


               SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                    (Continuation Sheet)

                                                                  Type of Priority: Taxes and Certain Other Debts Owed to Governmental Units




                                                                    HUSBAND, WIFE, JOINT
             CREDITOR'S NAME,                                                                   DATE CLAIM WAS                                                                AMOUNT             AMOUNT           AMOUNT




                                                                      OR COMMUNITY




                                                                                                                                                   UNLIQUIDATED
                                                                                                                                      CONTINGENT
              MAILING ADDRESS                                                                    INCURRED AND                                                                 OF CLAIM         ENTITLED TO          NOT


                                                       CODEBTOR




                                                                                                                                                                   DISPUTED
            INCLUDING ZIP CODE,                                                                 CONSIDERATION                                                                                   PRIORITY        ENTITLED TO
           AND ACCOUNT NUMBER                                                                      FOR CLAIM                                                                                                    PRIORITY, IF
           (See instructions above.)                                                                                                                                                                                ANY



 ACCOUNT NO.      xxxx4545                                            J                    12/31/2009                                               X
                                                                                                                                                                                    0.00               0.00            $0.00
                                                                                           personal income tax
 Internal Revenue Service
 Insolvency Unit
 31 Hopkins Plaza, Rm 1150
 Baltimore, MD 21201
 ACCOUNT NO.      xxxx4545                                            J                    12/31/2009                                               X
                                                                                                                                                                                    0.00               0.00            $0.00
                                                                                           personal income tax
 Maryland Comptroller of the Treasur
 Compliance Division, Room 409
 301 W. Preston Street
 Baltimore, MD 21201
 ACCOUNT NO.      9555647237100022009                               W                      02/01/2010                                               X
                                                                                                                                                                               12,525.00         12,525.00             $0.00
                                                                                           deferred student loan;
 Sallie Mae
                                                                                           payments begin iJuly
 11100 USA Pkwy
                                                                                           2013
 Fishres, IN 46037

 ACCOUNT NO.      95556472371E0012008                               W                      02/01/2010                                               X
                                                                                                                                                                               17,342.00         17,342.00             $0.00
                                                                                           deferred student loan;
 Sallie Mae
                                                                                           payments begin July
 P O Box 9635
                                                                                           2013
 Wilkes Barre PA 18773




Sheet no. 1 of 1 continuation sheets attached to Schedule of
                                                                                                                                     Subtotals
                                                                                                                         (Totals of this page)
                                                                                                                                                                       $      29,867.00 $         29,867.00 $            0.00
Creditors Holding Priority Claims


                                                                                                                                    Total
                                                                                             (Use only on last page of the completed
                                                                                             Schedule E. Report also on the Summary of
                                                                                                                                                                      $       29,867.00
                                                                                             Schedules.)
                                                                                                                                      Total
                                                                                             (Use only on last page of the completed                                                       $     29,867.00 $             0.00
                                                                                             Schedule E. If applicable, report also on the
                                                                                             Statistical Summary of Certain Liabilities
                                                                                             and Related Data. )
                                       Case 10-24182                            Doc 1                     Filed 06/23/10                  Page 25 of 43
B6F (Official Form 6F) (12/07)

In re    Mark E Kane          Christina M Kane                                                                                            Case No.
                                                                                                                 ,
                                                           Debtors                                                                                                            (If known)

        SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

                    Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.




                                                                       HUSBAND, WIFE, JOINT
                 CREDITOR'S NAME,                                                                                DATE CLAIM WAS                                                                           AMOUNT OF




                                                                         OR COMMUNITY




                                                                                                                                                                                UNLIQUIDATED
                                                                                                                                                                 CONTINGENT
                  MAILING ADDRESS                                                                                 INCURRED AND                                                                              CLAIM




                                                            CODEBTOR




                                                                                                                                                                                               DISPUTED
                INCLUDING ZIP CODE,                                                                            CONSIDERATION FOR
               AND ACCOUNT NUMBER                                                                                     CLAIM.
                (See instructions above.)                                                                     IF CLAIM IS SUBJECT TO
                                                                                                                 SETOFF, SO STATE

ACCOUNT NO.         418014410404                                         H                      02/17/2010                                                                      X                               126.32
 AT&T Mobility                                                                                  phone
 P O Box 536216
 Atlanta, GA 30353-6216



ACCOUNT NO.         5452360018607713                                   W                        03/01/2010                                                                      X                             7,860.00
 Bank of America                                                                                credit card
 P O Box 17054
 Wilmington DE 19850



ACCOUNT NO.         4417123043784791                                     H                      12/01/2009                                                                      X                             4,595.00
 Chase Bank USA NA                                                                              credit card
 800 Brooksedge Blvd
 Westerville OH 43081



ACCOUNT NO.         4147202046973671                                   W                        03/01/2010                                                                      X                             5,023.00
 Chase Bank USA NA                                                                              credit card
 800 Brooksedge Blvd
 Westerville OH 43081



ACCOUNT NO.         687945015448261                                      H                      02/01/2010                                                                      X                             1,327.00
 Dell Computer/Citibank                                                                         credit card
 12234 N 1H 3 SB Bldg B
 Austin, TX 78753



                4    Continuation sheets attached

                                                                                                                                                                Subtotal                           $         18,931.32



                                                                                                                                                                                                   $
                                                                                                                                                                        Total
                                                                                                                  (Use only on last page of the completed Schedule F.)
                                                                                              (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                                                     Summary of Certain Liabilities and Related Data.)
                                         Case 10-24182                               Doc 1                     Filed 06/23/10                  Page 26 of 43
B6F (Official Form 6F) (12/07) - Cont.

In re      Mark E Kane          Christina M Kane                                                                                               Case No.
                                                                                                                      ,
                                                               Debtors                                                                                                             (If known)

          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                      (Continuation Sheet)




                                                                            HUSBAND, WIFE, JOINT
                   CREDITOR'S NAME,                                                                                   DATE CLAIM WAS                                                                           AMOUNT OF




                                                                              OR COMMUNITY




                                                                                                                                                                                     UNLIQUIDATED
                                                                                                                                                                      CONTINGENT
                    MAILING ADDRESS                                                                                    INCURRED AND                                                                              CLAIM




                                                                 CODEBTOR




                                                                                                                                                                                                    DISPUTED
                  INCLUDING ZIP CODE,                                                                               CONSIDERATION FOR
                 AND ACCOUNT NUMBER                                                                                        CLAIM.
                  (See instructions above.)                                                                        IF CLAIM IS SUBJECT TO
                                                                                                                      SETOFF, SO STATE

 ACCOUNT NO.        649601101795369                                         W                        03/01/2010                                                                       X                            1,258.00
 GE Capital/QVC                                                                                      credit card
 P O Box 971402
 El Paso, TX 79997



 ACCOUNT NO.        604410061093                                            W                        03/01/2010                                                                       X                              114.00
 GEMB American Eagle                                                                                 credit card
 P O Box 103024
 Roswell, GA 30076



 ACCOUNT NO.        604416100168                                            W                        03/01/2010                                                                       X                              161.00
 GEMB/Ikea                                                                                           credit card
 P O Box 981400
 El Paso, TX 79998



 ACCOUNT NO.        81924210647814                                            H                      02/01/2010                                                                       X                              981.00
 GEMB/Lowes                                                                                          credit card
 P O Box 981064
 El Paso, TX 79998



 ACCOUNT NO.        6032201432065137                                        W                        03/01/2010                                                                       X                              417.00
 GEMB/Walmart                                                                                        credit card
 P O Box 981400
 El Paso, TX 79998




Sheet no. 1 of 4 continuation sheets attached to Schedule of Creditors                                                                                               Subtotal                           $          2,931.00
Holding Unsecured
Nonpriority Claims


                                                                                                                                                                                                        $
                                                                                                                                                                             Total
                                                                                                                       (Use only on last page of the completed Schedule F.)
                                                                                                   (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                                                          Summary of Certain Liabilities and Related Data.)
                                         Case 10-24182                               Doc 1                     Filed 06/23/10                  Page 27 of 43
B6F (Official Form 6F) (12/07) - Cont.

In re      Mark E Kane          Christina M Kane                                                                                               Case No.
                                                                                                                      ,
                                                               Debtors                                                                                                             (If known)

          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                      (Continuation Sheet)




                                                                            HUSBAND, WIFE, JOINT
                   CREDITOR'S NAME,                                                                                   DATE CLAIM WAS                                                                           AMOUNT OF




                                                                              OR COMMUNITY




                                                                                                                                                                                     UNLIQUIDATED
                                                                                                                                                                      CONTINGENT
                    MAILING ADDRESS                                                                                    INCURRED AND                                                                              CLAIM




                                                                 CODEBTOR




                                                                                                                                                                                                    DISPUTED
                  INCLUDING ZIP CODE,                                                                               CONSIDERATION FOR
                 AND ACCOUNT NUMBER                                                                                        CLAIM.
                  (See instructions above.)                                                                        IF CLAIM IS SUBJECT TO
                                                                                                                      SETOFF, SO STATE

 ACCOUNT NO.        0535089981                                              W                        03/01/2010                                                                       X                            1,090.00
 Kohl/s/Chase                                                                                        credit card
 N 56 W17000 Ridgewood
 Menomonee Falls, WI 53051



 ACCOUNT NO.        05459034                                                  H                      03/01/2010                                                                       X                              135.00
 Kohl/s/Chase                                                                                        credit card
 N 56 W17000 Ridgewood
 Menomonee Falls, WI 53051



 ACCOUNT NO.        4820002971101155                                        W                        03/01/2010                                                                       X                            2,006.00
 Municipal Employees Credit Union                                                                    credit card
 7 E Redwood St, Suite 1400
 Baltimore, MD 21202



 ACCOUNT NO.        1051802                                                   H                      10/01/2009                                                                       X                           13,143.00
 Municipal Employees Credit Union                                                                    unsecured loan
 7 E Redwood St, Suite 1400
 Baltimore, MD 21202



 ACCOUNT NO.        59595215                                                W                        05/28/2009                                                                       X                              110.08
 NCO Financial Systems Inc.                                                                          collectio for Upper Chesapeake II -
 9009 Corporate Lakes Dr, Ste 300-BD                                                                 Harford Memorial Hospital
 Tampa, FL 33634




Sheet no. 2 of 4 continuation sheets attached to Schedule of Creditors                                                                                               Subtotal                           $         16,484.08
Holding Unsecured
Nonpriority Claims


                                                                                                                                                                                                        $
                                                                                                                                                                             Total
                                                                                                                       (Use only on last page of the completed Schedule F.)
                                                                                                   (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                                                          Summary of Certain Liabilities and Related Data.)
                                         Case 10-24182                               Doc 1                     Filed 06/23/10                  Page 28 of 43
B6F (Official Form 6F) (12/07) - Cont.

In re      Mark E Kane          Christina M Kane                                                                                               Case No.
                                                                                                                      ,
                                                               Debtors                                                                                                             (If known)

          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                      (Continuation Sheet)




                                                                            HUSBAND, WIFE, JOINT
                   CREDITOR'S NAME,                                                                                   DATE CLAIM WAS                                                                           AMOUNT OF




                                                                              OR COMMUNITY




                                                                                                                                                                                     UNLIQUIDATED
                                                                                                                                                                      CONTINGENT
                    MAILING ADDRESS                                                                                    INCURRED AND                                                                              CLAIM




                                                                 CODEBTOR




                                                                                                                                                                                                    DISPUTED
                  INCLUDING ZIP CODE,                                                                               CONSIDERATION FOR
                 AND ACCOUNT NUMBER                                                                                        CLAIM.
                  (See instructions above.)                                                                        IF CLAIM IS SUBJECT TO
                                                                                                                      SETOFF, SO STATE

 ACCOUNT NO.        5049941420785724                                        W                        03/01/2010                                                                       X                              198.00
 Sears/CBSD                                                                                          credit card
 P O Box 6189
 Sioux Falls, SD 57117



 ACCOUNT NO.        5049941397429280                                         H                       03/01/2010                                                                       X                              276.00
 Sears/CBSD                                                                                          credit card
 P O Box 6189
 Sioux Falls, SD 57117



 ACCOUNT NO.        63783xxxx                                               W                        03/01/2010                                                                       X                              178.00
 Target National Bank                                                                                credit card
 P O Box 59317
 Minneapolis, MN 55459-0317



 ACCOUNT NO.        905170375, 1001625506, 4808                                J                     05/22/2008                                                                       X                              360.53
 University of Maryland Medical Center                                                               medical - multiple accounts
 22 South Greene Street
 Baltimore, MD 21201



 ACCOUNT NO.        H13495072                                               W                        01/24/2010                                                                       X                               98.02
 Upper Chesapeake Health                                                                             medical
 Harford Memorial Hospital
 P O Box 630987
 Baltimore, MD 21263-0987




Sheet no. 3 of 4 continuation sheets attached to Schedule of Creditors                                                                                               Subtotal                           $          1,110.55
Holding Unsecured
Nonpriority Claims


                                                                                                                                                                                                        $
                                                                                                                                                                             Total
                                                                                                                       (Use only on last page of the completed Schedule F.)
                                                                                                   (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                                                          Summary of Certain Liabilities and Related Data.)
                                         Case 10-24182                               Doc 1                     Filed 06/23/10                  Page 29 of 43
B6F (Official Form 6F) (12/07) - Cont.

In re      Mark E Kane          Christina M Kane                                                                                               Case No.
                                                                                                                      ,
                                                               Debtors                                                                                                             (If known)

          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                      (Continuation Sheet)




                                                                            HUSBAND, WIFE, JOINT
                   CREDITOR'S NAME,                                                                                   DATE CLAIM WAS                                                                           AMOUNT OF




                                                                              OR COMMUNITY




                                                                                                                                                                                     UNLIQUIDATED
                                                                                                                                                                      CONTINGENT
                    MAILING ADDRESS                                                                                    INCURRED AND                                                                              CLAIM




                                                                 CODEBTOR




                                                                                                                                                                                                    DISPUTED
                  INCLUDING ZIP CODE,                                                                               CONSIDERATION FOR
                 AND ACCOUNT NUMBER                                                                                        CLAIM.
                  (See instructions above.)                                                                        IF CLAIM IS SUBJECT TO
                                                                                                                      SETOFF, SO STATE

 ACCOUNT NO.        4006138565026329                                         H                       02/01/2010                                                                       X                           13,663.00
 US Bank                                                                                             credit card
 P O Box 790408
 St. Louis, MO 63179-0408




Sheet no. 4 of 4 continuation sheets attached to Schedule of Creditors                                                                                               Subtotal                           $         13,663.00
Holding Unsecured
Nonpriority Claims


                                                                                                                                                                                                        $          53,119.95
                                                                                                                                                                             Total
                                                                                                                       (Use only on last page of the completed Schedule F.)
                                                                                                   (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                                                          Summary of Certain Liabilities and Related Data.)
                                  Case 10-24182              Doc 1        Filed 06/23/10          Page 30 of 43
B6G (Official Form 6G) (12/07)


In re:   Mark E Kane       Christina M Kane                                         ,        Case No.
                                                        Debtors                                                  (If known)


 SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES

         Check this box if debtor has no executory contracts or unexpired leases.


                                                                                        DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF
            NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                                DEBTOR'S INTEREST, STATE WHETHER LEASE IS FOR
              OF OTHER PARTIES TO LEASE OR CONTRACT.                                    NONRESIDENTIAL REAL PROPERTY. STATE CONTRACT
                                                                                            NUMBER OF ANY GOVERNMENT CONTRACT.
                                 Case 10-24182           Doc 1   Filed 06/23/10    Page 31 of 43
B6H (Official Form 6H) (12/07)


In re: Mark E Kane      Christina M Kane                                      Case No.
                                                                      ,                             (If known)
                                                      Debtors


                                            SCHEDULE H - CODEBTORS
         Check this box if debtor has no codebtors.




                   NAME AND ADDRESS OF CODEBTOR                                   NAME AND ADDRESS OF CREDITOR
                                       Case 10-24182           Doc 1         Filed 06/23/10              Page 32 of 43
B6I (Official Form 6I) (12/07)

 In re     Mark E Kane Christina M Kane                                              ,                   Case No.
                                                                 Debtors                                                               (If known)


            SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled “Spouse” must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.



 Debtor’s Marital
                                                                   DEPENDENTS OF DEBTOR AND SPOUSE
 Status:       Married
                                                RELATIONSHIP(S):                                                                  AGE(S):
                                          Daughter
                                          Daughter
                                          Daughter
                                          Parent
 Employment:                                            DEBTOR                                                        SPOUSE
 Occupation                     Paramedic Instructor                                              Dispatcher Lietenant
 Name of Employer               Chesapeake Health Education Programs                              Cecil County Government
 How long employed                                                                                 10-1/2 years
 Address of Employer

 INCOME: (Estimate of average or projected monthly income at time
              case filed)                                                                                     DEBTOR                         SPOUSE


 1. Monthly gross wages, salary, and commissions                                                    $                 4,960.00 $                    4,397.59
      (Prorate if not paid monthly.)
 2. Estimate monthly overtime                                                                       $                      0.00 $                       0.00
 3. SUBTOTAL                                                                                        $                4,960.00      $                4,397.59
 4. LESS PAYROLL DEDUCTIONS
         a. Payroll taxes and social security                                                       $                 1,203.00 $                      884.28
                                                                                                    $                     0.00 $                        0.00
         b. Insurance
         c. Union dues                                                                              $                     0.00 $                        0.00
         d. Other (Specify)       2Party Fam/D                                                       $                    0.00     $                    9.46

                                  2Party Fam/V                                                       $                    0.00     $                    1.32

                                  Dental                                                             $                    5.54     $                    0.00

                                  Fam High RX                                                        $                    0.00     $                  197.78

                                  FSA Medical                                                        $                    0.00     $                  100.00

                                  Group Health                                                       $                   77.86     $                    0.00

                                  Medical                                                            $                   50.00     $                    0.00

                                  Savings                                                            $                    0.00     $                  900.00

                                  State Pension                                                      $                    0.00     $                  177.00

 5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                  $                 1,336.40 $                    2,269.84
 6. TOTAL NET MONTHLY TAKE HOME PAY                                                                 $                 3,623.60 $                    2,127.75
 7. Regular income from operation of business or profession or farm
         (Attach detailed statement)                                                                $                      0.00 $                       0.00
 8. Income from real property                                                                       $                      0.00 $                       0.00
 9. Interest and dividends                                                                          $                      0.00 $                       0.00
 10. Alimony, maintenance or support payments payable to the debtor for the
      debtor’s use or that of dependents listed above.                                              $                      0.00 $                       0.00
 11. Social security or other government assistance
 (Specify)                                                                                          $                      0.00 $                       0.00
                                  Case 10-24182               Doc 1         Filed 06/23/10             Page 33 of 43
B6I (Official Form 6I) (12/07) - Cont.
 In re   Mark E Kane Christina M Kane                                               ,                  Case No.
                                                                Debtors                                                               (If known)


         SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
 12. Pension or retirement income                                                                  $                      0.00 $                       0.00
 13. Other monthly income
 (Specify)                                                                                         $                      0.00 $                       0.00
 14. SUBTOTAL OF LINES 7 THROUGH 13                                                                $                     0.00     $                   0.00
 15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                  $                 3,623.60 $                    2,127.75
 16. COMBINED AVERAGE MONTHLY INCOME: (Combine column                                                                   $ 5,751.35
 totals from line 15)
                                                                                               (Report also on Summary of Schedules and, if applicable, on
                                                                                                Statistical Summary of Certain Liabilities and Related Data)
 17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document.:
 NONE
                                      Case 10-24182            Doc 1         Filed 06/23/10            Page 34 of 43
B6J (Official Form 6J) (12/07)

  In re Mark E Kane Christina M Kane                                                 ,                          Case No.
                                                          Debtors                                                                     (If known)

                 SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
         Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor’s family at time case filed. Prorate
any payments made biweekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly expenses calculated on this form may
differ from the deductions from income allowed on Form22A or 22C.
       Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
       expenditures labeled "Spouse."

 1. Rent or home mortgage payment (include lot rented for mobile home)                                                        $                    2,464.00
      a. Are real estate taxes included?          Yes                     No
       b. Is property insurance included?         Yes                     No
 2. Utilities: a. Electricity and heating fuel                                                                                $                     937.00
               b. Water and sewer                                                                                             $                       0.00
               c. Telephone                                                                                                   $                     250.00
               d. Other Cable TV                                                                                             $                      164.00
                       Cell phone                                                                                            $                      100.00
                       Trash collection                                                                                      $                        50.00
 3. Home maintenance (repairs and upkeep)                                                                                     $                      300.00
 4. Food                                                                                                                      $                      800.00
 5. Clothing                                                                                                                  $                      100.00
 6. Laundry and dry cleaning                                                                                                  $                        0.00
 7. Medical and dental expenses                                                                                               $                      100.00
 8. Transportation (not including car payments)                                                                               $                      525.00
 9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                                          $                      200.00
10. Charitable contributions                                                                                                  $                       30.00
 11. Insurance (not deducted from wages or included in home mortgage payments)
                 a. Homeowner’s or renter’s                                                                                   $                        0.00
                 b. Life                                                                                                      $                      102.00
                 c. Health                                                                                                    $                        0.00
                 d. Auto                                                                                                      $                      362.00
                 e. Other                                                                                                     $                         0.00
 12. Taxes (not deducted from wages or included in home mortgage payments)
 (Specify)                                                                                                                    $                        0.00
 13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the plan)
                a. Auto                                                                                                       $                        0.00
                b. Other 2nd mortgage                                                                                             $                   424.86
                              Chrysler Financial for 2008 Jeep Commander                                                          $                   548.40
                              Harley Davidson Credit Corp.                                                                        $                   325.00
                              Wilmington Trust for 2008 Dodge Caliber                                                             $                   219.16
 14. Alimony, maintenance, and support paid to others                                                                         $                        0.00
 15. Payments for support of additional dependents not living at your home                                                    $                        0.00
 16. Regular expenses from operation of business, profession, or farm (attach detailed statement)                             $                        0.00
 17. Other Hair cuts                                                                                                          $                        75.00
            Harford County MD property taxes (annual $3,361.29)                                                               $                       280.00
            Pet food & veterinary care                                                                                        $                       150.00
            school lunches/allowances                                                                                         $                        10.00
 18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,
 if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)                                          $                    8,516.42

 19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year following the filing of this document:


 20. STATEMENT OF MONTHLY NET INCOME
           a. Average monthly income from Line 15 of Schedule I                                                               $                     5,751.35
           b. Average monthly expenses from Line 18 above                                                                     $                     8,516.42
           c. Monthly net income (a. minus b.)                                                                                $                    -2,765.07
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B6 Declaration (Official Form 6 - Declaration) (12/07)


  In re Mark E Kane         Christina M Kane                                           ,                                Case No.
                                                           Debtors                                                                       (If known)



                          DECLARATION CONCERNING DEBTOR'S SCHEDULES
                             DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                        21
sheets, and that they are true and correct to the best of my knowledge, information, and belief.

Date: 6/23/2010                                                                Signature: s/ Mark E Kane
                                                                                            Mark E Kane
                                                                                                                        Debtor

Date: 6/23/2010                                                                Signature: s/ Christina M Kane
                                                                                            Christina M Kane
                                                                                                               (Joint Debtor, if any)
                                                                              [If joint case, both spouses must sign]


       DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP
                                                                     (NOT APPLICABLE)




Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C §§ 152 and 3571.
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B 201A (Form 201A) (12/09)

    WARNING: Effective December 1, 2009, the 15-day deadline to file schedules and certain other documents under
       Bankruptcy Rule 1007(c) is shortened to 14 days. For further information, see note at bottom of page 2.

                                   UNITED STATES BANKRUPTCY COURT
                                        DISTRICT OF MARYLAND


                         NOTICE TO CONSUMER DEBTOR(S) UNDER § 342(b)
                                  OF THE BANKRUPTCY CODE
          In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1)
Describes briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and
costs of the four types of bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and
notifies you that the Attorney General may examine all information you supply in connection with a bankruptcy case.

         You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the
advice of an attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees cannot
give you legal advice.

          Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to
ensure that you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the
court of any changes in your address. If you are filing a joint case (a single bankruptcy case for two individuals married to
each other), and each spouse lists the same mailing address on the bankruptcy petition, you and your spouse will generally
receive a single copy of each notice mailed from the bankruptcy court in a jointly-addressed envelope, unless you file a
statement with the court requesting that each spouse receive a separate copy of all notices.

1. Services Available from Credit Counseling Agencies
         With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for
bankruptcy relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit
counseling and provides assistance in performing a budget analysis. The briefing must be given within 180 days
before the bankruptcy filing. The briefing may be provided individually or in a group (including briefings conducted by
telephone or on the Internet) and must be provided by a nonprofit budget and credit counseling agency approved by the
United States trustee or bankruptcy administrator. The clerk of the bankruptcy court has a list that you may consult of the
approved budget and credit counseling agencies. Each debtor in a joint case must complete the briefing.

          In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial
management instructional course before he or she can receive a discharge. The clerk also has a list of approved
financial management instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors
    Chapter 7: Liquidation ($245 filing fee, $39 administrative fee, $15 trustee surcharge: Total fee $299)

           Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts.
Debtors whose debts are primarily consumer debts are subject to a “means test” designed to determine whether the case
should be permitted to proceed under chapter 7. If your income is greater than the median income for your state of
residence and family size, in some cases, the United States trustee (or bankruptcy administrator), the trustee, or creditors
have the right to file a motion requesting that the court dismiss your case under § 707(b) of the Code. It is up to the court to
decide whether the case should be dismissed.
           Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the
right to take possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your
creditors.
           The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to
have committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge
and, if it does, the purpose for which you filed the bankruptcy petition will be defeated.
           Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you
may still be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support
and property settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts
which are not properly listed in your bankruptcy papers; and debts for death or personal injury caused by operating a motor
vehicle, vessel, or aircraft while intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud,
breach of fiduciary duty, or theft, or from a willful and malicious injury, the bankruptcy court may determine that the debt is
not discharged.
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   Form B 201A, Notice to Consumer Debtor(s)                                                                            Page 2

       Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee, $39
administrative fee: Total fee $274)
            Chapter 13 is designed for individuals with regular income who would like to pay all or part of
   their debts in installments over a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar
   amounts set forth in the Bankruptcy Code.
             Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe
   them, using your future earnings. The period allowed by the court to repay your debts may be three years or five years,
   depending upon your income and other factors. The court must approve your plan before it can take effect.
             After completing the payments under your plan, your debts are generally discharged except for domestic support
   obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not
   properly listed in your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term
   secured obligations.
        Chapter 11: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)
             Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions
    are quite complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.
        Chapter 12: Family Farmer or Fisherman ($200 filing fee, $39 administrative fee: Total fee $239)

             Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from
    future earnings and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose
    income arises primarily from a family-owned farm or commercial fishing operation.

    3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials

              A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of
    perjury, either orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All
    information supplied by a debtor in connection with a bankruptcy case is subject to examination by the Attorney General
    acting through the Office of the United States Trustee, the Office of the United States Attorney, and other components and
    employees of the Department of Justice.

    WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your
    creditors, assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if
    this information is not filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and
    the local rules of the court. The documents and the deadlines for filing them are listed on Form B200, which is posted at
    http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.

    Many filing deadlines change on December 1, 2009. Of special note, 12 rules that set 15 days to act are amended to
    require action within 14 days, including Rule 1007(c), filing the initial case papers; Rule 3015(b), filing a chapter 13
    plan; Rule 8009(a), filing appellate briefs; and Rules 1019, 1020, 2015, 2015.1, 2016, 4001, 4002, 6004, and 6007.
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B 201B (Form 201B) (12/09)


                                       UNITED STATES BANKRUPTCY COURT
                                            DISTRICT OF MARYLAND



In re Mark E Kane                                                                         Case No.
      Christina M Kane
                                   Debtor                                                 Chapter        7


                        CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                            UNDER § 342(b) OF THE BANKRUPTCY CODE



                                                       Certificate of the Debtor
    We, the debtors, affirm that we have received and read the attached notice, as required by § 342(b) of the Bankruptcy Code.

Mark E Kane                                                       Xs/ Mark E Kane                                        6/23/2010
                                                                   Mark E Kane
Christina M Kane
                                                                    Signature of Debtor                                       Date
Printed Name(s) of Debtor(s)
                                                                  X s/ Christina M Kane                                  6/23/2010
Case No. (if known)                                                 Christina M Kane
                                                                    Signature of Joint Debtor                                 Date




Instructions: Attach a copy of Form B 201A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has
NOT been made on the Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the
debtor’s attorney that the attorney has given the notice to the debtor. The Declarations made by debtors and bankruptcy
petition preparers on page 3 of Form B1 also include this certification.
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        AT&T Mobility
        P O Box 536216
        Atlanta, GA 30353-6216




        Bank of America
        P O Box 17054
        Wilmington DE 19850




        Chase Bank USA NA
        800 Brooksedge Blvd
        Westerville OH 43081




        Chrysler Financial
        P O Box 9001921
        Louisville, KY 40290-1921




        Dell Computer/Citibank
        12234 N 1H 3 SB Bldg B
        Austin, TX 78753




        EMC Mortgage
        2780 Lake Vista Dr
        Lewisville, TX




        EMC Mortgage
        P O Box 660753
        Dallas, TX 75266-0753




        GE Capital/QVC
        P O Box 971402
        El Paso, TX 79997




        GEMB American Eagle
        P O Box 103024
        Roswell, GA 30076
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        GEMB/Ikea
        P O Box 981400
        El Paso, TX 79998




        GEMB/Lowes
        P O Box 981064
        El Paso, TX 79998




        GEMB/Walmart
        P O Box 981400
        El Paso, TX 79998




        Harley Davidson Credit Corp.
        Dept. 15129
        Palatine, IL 60055-5129




        Internal Revenue Service
        Insolvency Unit
        31 Hopkins Plaza, Rm 1150
        Baltimore, MD 21201


        Kohl/s/Chase
        N 56 W17000 Ridgewood
        Menomonee Falls, WI 53051




        Maryland Comptroller of the Treasur
        Compliance Division, Room 409
        301 W. Preston Street
        Baltimore, MD 21201


        Municipal Employees Credit Union
        7 E Redwood St, Suite 1400
        Baltimore, MD 21202




        Municipal Employees Credit Union
        7 E Redwood St, Suite 1400
        Baltimore, MD 21202
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        NCO Financial Systems Inc.
        9009 Corporate Lakes Dr, Ste 300-BD
        Tampa, FL 33634




        Sallie Mae
        11100 USA Pkwy
        Fishres, IN 46037




        Sallie Mae
        P O Box 9635
        Wilkes Barre PA      18773




        Sears/CBSD
        P O Box 6189
        Sioux Falls, SD      57117




        Target National Bank
        P O Box 59317
        Minneapolis, MN 55459-0317




        University of Maryland Medical Cent
        22 South Greene Street
        Baltimore, MD 21201




        Upper Chesapeake Health
        Harford Memorial Hospital
        P O Box 630987
        Baltimore, MD 21263-0987


        US Bank
        P O Box 790408
        St. Louis, MO 63179-0408




        Wilmington Trust Co.
        1100 N Market St, Rodney Sq N
        Wilmington, DE 19809
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                                         UNITED STATES BANKRUPTCY COURT
                                              DISTRICT OF MARYLAND


In re:   Mark E Kane     Christina M Kane                                                Case No.
                                         Debtors
                                                                                          Chapter 7


                               VERIFICATION OF CREDITOR MATRIX
              The above named debtor(s), or debtor’s attorney if applicable, do hereby certify under penalty of perjury that
         the attached Master Mailing List of creditors, consisting of 3 sheet(s) is complete, correct and consistent with the
         debtor’s schedules pursuant to Local Bankruptcy Rules and I/we assume all responsibility for errors and omissions.




         Dated:    6/23/2010                                          Signed: s/ Mark E Kane
                                                                              Mark E Kane



         Dated:   6/23/2010                                          Signed: s/ Christina M Kane
                                                                             Christina M Kane
                                  Case 10-24182                  Doc 1     Filed 06/23/10              Page 43 of 43
Form 6 - Statistical Summary (12/07)

                                                       United States Bankruptcy Court
                                                             District of Maryland

In re   Mark E Kane       Christina M Kane                                         ,
                                                                                                       Case No.
                                                                Debtors                                Chapter    7


          STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
           If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
§ 101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.


                Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
information here.


This information is for statistical purposes only under 28 U.S.C. § 159.



Summarize the following types of liabilities, as reported in the Schedules, and total them.



 Type of Liability                                                           Amount
 Domestic Support Obligations (from Schedule E)                             $     0.00
 Taxes and Certain Other Debts Owed to Governmental Units (from
 Schedule E)                                                                $     29,867.00
 Claims for Death or Personal Injury While Debtor Was
 Intoxicated (from Schedule E) (whether disputed or undisputed)             $     0.00
 Student Loan Obligations (from Schedule F)                                 $     0.00
 Domestic Support, Separation Agreement, and Divorce Decree
 Obligations Not Reported on Schedule E.                                    $     0.00
 Obligations to Pension or Profit-Sharing, and Other Similar Obligations
 (from Schedule F)                                                          $     0.00
                                                                TOTAL        $    29,867.00
State the following:

 Average Income (from Schedule I, Line 16)                                  $     5,751.35
 Average Expenses (from Schedule J, Line 18)                                $     8,516.42
 Current Monthly Income (from Form 22A Line 12; OR, Form
 22B Line 11; OR, Form 22C Line 20 )                                        $     9,357.59

State the following:

 1. Total from Schedule D, “UNSECURED PORTION, IF ANY” column
                                                                                                   $     96,746.10
 2. Total from Schedule E, “AMOUNT ENTITLED TO PRIORITY”
 column.                                                                    $     29,867.00
 3. Total from Schedule E, “AMOUNT NOT ENTITLED TO PRIORITY,
 IF ANY” column                                                                                    $     0.00
 4. Total from Schedule F                                                                          $     53,119.95
 5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                      $     149,866.05
